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 7

 8                                  UNITED STATES DISTRICT COURT

 9                     NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

10

11 ATARI INTERACTIVE, INC.,                           Case No. 4:18-cv-03451-JST

12                     Plaintiff,                     [Related to Case Nos. 3:18-cv-03843-JST; 3:18-
                                                      cv-04115; 4:18-cv-04949-JST; and 4:19-cv-
13               vs.                                  00264-JST]

14 REDBUBBLE, INC.,                                   Judge:   Hon. Jon S. Tigar

15                     Defendant.
                                                      ATARI INTERACTIVE, INC.’S
16                                                    STATEMENT OF RECENT DECISION
     AND RELATED ACTIONS
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     1642225.1                                                             Case No. 4:18-cv-03451-JST
                          ATARI INTERACTIVE, INC.’S STATEMENT OF RECENT DECISION
         Case 4:18-cv-03451-JST Document 87 Filed 08/14/20 Page 2 of 51




 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2               Pursuant to Local Rule 7-3(d)(2), plaintiff Atari Interactive, Inc. hereby respectfully

 3 submits for the Court’s consideration the decision concerning Amazon’s liability for goods sold on

 4 its website reached in Bolger v. Amazon.com, LLC, Case No. D075738 before the Court of Appeal

 5 for the State of California. A copy of this opinion is attached hereto as “Exhibit A.”

 6 Dated: August 14, 2020                           BROWNE GEORGE ROSS LLP
                                                       Keith J. Wesley
 7                                                     Matthew L. Venezia
 8

 9                                                  By:         /s/ Matthew L. Venezia
                                                                Matthew L. Venezia
10                                                  Attorneys for Plaintiff Atari Interactive, Inc.
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     1642225.1                                                               Case No. 4:18-cv-03451-JST
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                            ATARI INTERACTIVE, INC.’S STATEMENT OF RECENT DECISION
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          EXHIBIT A
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Filed 8/13/20


                         CERTIFIED FOR PUBLICATION


                COURT OF APPEAL, FOURTH APPELLATE DISTRICT

                                     DIVISION ONE

                             STATE OF CALIFORNIA



 ANGELA BOLGER,                               D075738

          Plaintiff and Appellant,

          v.                                  (Super. Ct. No. 37-2017-
                                              00003009-CU-PL-CTL)
 AMAZON.COM, LLC,

          Defendant and Respondent.


        APPEAL from a judgment of the Superior Court of San Diego County,
Randa Trapp, Judge. Reversed with directions.
        Casey, Gerry, Schenk, Francavilla, Blatt & Penfield, Thomas D.
Luneau, Jeremy Robinson, and Jillian F. Hayes, for Plaintiff and Appellant.
        Lieff Cabraser Heimann & Bernstein, Jonathan D. Selbin and Evan J.
Ballan, for Public Justice, as Amicus Curiae on behalf of Plaintiff and
Appellant.
        Siminou Appeals and Benjamin I. Siminou, for the Consumer Attorneys
of California, as Amicus Curiae on behalf of Plaintiff and Appellant.
        Perkins Coie, Julie L. Hussey, Julian Feldbein-Vinderman and W.
Brendan Murphy, for Defendant and Respondent.
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      Baker Botts, Christopher J. Carr and Navi Singh Dhillon, for the
Chamber of Commerce of the United States of America, as Amicus Curiae on
behalf of Defendant and Respondent.
      Plaintiff Angela Bolger bought a replacement laptop computer battery
on Amazon, the popular online shopping website operated by defendant
Amazon.com, LLC. The Amazon listing for the battery identified the seller as
“E-Life,” a fictitious name used on Amazon by Lenoge Technology (HK) Ltd.
(Lenoge). Amazon charged Bolger for the purchase, retrieved the laptop
battery from its location in an Amazon warehouse, prepared the battery for
shipment in Amazon-branded packaging, and sent it to Bolger. Bolger
alleges the battery exploded several months later, and she suffered severe
burns as a result.
      Bolger sued Amazon and several other defendants, including Lenoge.
She alleged causes of action for strict products liability, negligent products
liability, breach of implied warranty, breach of express warranty, and
“negligence/negligent undertaking.” Lenoge was served but did not appear,
so the trial court entered its default.
      Amazon moved for summary judgment. It primarily argued that the
doctrine of strict products liability, as well as any similar tort theory, did not
apply to it because it did not distribute, manufacture, or sell the product in
question. It claimed its website was an “online marketplace” and E-Life
(Lenoge) was the product seller, not Amazon. The trial court agreed, granted
Amazon’s motion, and entered judgment accordingly.
      Bolger appeals. She argues that Amazon is strictly liable for defective
products offered on its website by third-party sellers like Lenoge. In the
circumstances of this case, we agree.




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      As a factual and legal matter, Amazon placed itself between Lenoge
and Bolger in the chain of distribution of the product at issue here. Amazon
accepted possession of the product from Lenoge, stored it in an Amazon
warehouse, attracted Bolger to the Amazon website, provided her with a
product listing for Lenoge’s product, received her payment for the product,
and shipped the product in Amazon packaging to her. Amazon set the terms
of its relationship with Lenoge, controlled the conditions of Lenoge’s offer for
sale on Amazon, limited Lenoge’s access to Amazon’s customer information,
forced Lenoge to communicate with customers through Amazon, and
demanded indemnification as well as substantial fees on each purchase.
Whatever term we use to describe Amazon’s role, be it “retailer,”
“distributor,” or merely “facilitator,” it was pivotal in bringing the product
here to the consumer.
      Strict products liability “was created judicially because of the economic
and social need for the protection of consumers in an increasingly complex
and mechanized society, and because of the limitations in the negligence and
warranty remedies.” (Daly v. General Motors Corp. (1978) 20 Cal.3d 725, 733
(Daly).) It “arose from dissatisfaction with the wooden formalisms of
traditional tort and contract principles in order to protect the consumer of
manufactured goods.” (Id. at p. 735.) The scope of strict liability has been
expanded, where necessary, to account for “market realities” and to cover new
transactions in “widespread use . . . in today’s business world.” (Price v. Shell
Oil Co. (1970) 2 Cal.3d 245, 252 (Price).)
      The structure of Amazon’s relationship with Lenoge, on one hand, and
Bolger, on the other, presents just such a new transaction now in widespread
use. We must therefore return to the principles underlying the doctrine of
strict products liability to determine whether it applies. (See O’Neil v. Crane


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Co. (2012) 53 Cal.4th 335, 362 (O’Neil); Jimenez v. Superior Court (2002)
29 Cal.4th 473, 479-480 (Jimenez).) Those principles compel the application
of the doctrine to Amazon under the circumstances here. As noted, Amazon
is a direct link in the chain of distribution, acting as a powerful intermediary
between the third-party seller and the consumer. Amazon is the only
member of the enterprise reasonably available to an injured consumer in
some cases, it plays a substantial part in ensuring the products listed on its
website are safe, it can and does exert pressure on upstream distributors (like
Lenoge) to enhance safety, and it has the ability to adjust the cost of liability
between itself and its third-party sellers. Under established principles of
strict liability, Amazon should be held liable if a product sold through its
website turns out to be defective. (See Vandermark v. Ford Motor Co. (1964)
61 Cal.2d 256, 262 (Vandermark).) Strict liability here “affords maximum
protection to the injured plaintiff and works no injustice to the defendants,
for they can adjust the costs of such protection between them in the course of
their continuing business relationship.” (Id. at pp. 262-263.)
      We further conclude Amazon is not shielded from liability by title 47
United States Code section 230. That section, enacted as part of the
Communications Decency Act of 1996 (CDA; Pub.L. No. 104-104, tit. V
(Feb. 8, 1996) 110 Stat. 56), generally prevents internet service providers
from being held liable as a speaker or publisher of third-party content. It
does not apply here because Bolger’s strict liability claims depend on
Amazon’s own activities, not its status as a speaker or publisher of content
provided by Lenoge for its product listing.
      We therefore reverse the trial court’s judgment in favor of Amazon. On
remand, the court shall vacate its order granting Amazon’s motion for




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summary judgment and enter an order granting the motion in part and
denying it in part, as discussed more fully below.
              FACTUAL AND PROCEDURAL BACKGROUND
      Consistent with our standard of review of orders granting summary
judgment, we recite the historical facts in the light most favorable to Bolger
as the nonmoving party. (See Saelzler v. Advanced Group 400 (2001)
25 Cal.4th 763, 768 (Saelzler); Light v. Department of Parks & Recreation
(2017) 14 Cal.App.5th 75, 81.)
      Many readers of this opinion are likely familiar with the Amazon
website. It is the world’s most popular e-commerce website. In the United
States, approximately half of all online shopping dollars are spent on
Amazon. The Amazon website is, in some sense, “ ‘the world’s largest store’ ”
in the Internet age.
      Products sold on the Amazon website fall into two general categories.
In one category are the products Amazon itself selects, buys from
manufacturers or distributors, and sells to consumers at a price established
by Amazon. These products, which make up approximately 40 percent of the
website’s sales, are not at issue in this appeal. In the second category are the
products ostensibly sold by third parties through Amazon’s website. These
“third-party sellers” select their own products, source them from
manufacturers or distributors, set the purchase price, and use Amazon’s
website to reach consumers. They pay either a monthly fee or a per item fee
for the opportunity to sell on Amazon’s website.
      The product listings for the two categories are often similar. The main
distinction is that products not sold directly by Amazon include the words
“Sold by” and the name of the third-party seller instead of Amazon. An
example third-party listing appears below. It was reproduced in an e-


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commerce expert declaration submitted by Bolger in opposition to Amazon’s
motion for summary judgment. The “Sold by” notation is included on the
right side of the listing.




      To purchase a product offered by a third-party seller, the customer
adds it to his or her Amazon cart. At checkout, the order confirmation page
again identifies the product as “Sold by” the third-party seller. To complete
the purchase, Amazon charges the customer’s credit card or other payment
information in its files. Amazon informs sellers it will “collect all Sales
Proceeds for each of these transactions and will have the exclusive rights to
do so[.]” Amazon accepts the risk that the customer’s payment information
will turn out to be fraudulent. After Amazon collects the payment, it deducts
a referral fee (and other potential fees, discussed below), aggregates the




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remaining proceeds with those from other purchases, and remits them to the

third-party seller on a periodic basis.1
      Some third-party sellers participate in the “Fulfilled by Amazon” (FBA)
program. The FBA program allows third-party sellers to reach customers on
a global basis. Third-party sellers must apply to register any product
included in the FBA program, and Amazon may refuse registration for
various reasons. Bolger’s e-commerce expert described the FBA program as
follows: “This service allowed companies and individuals with products to
sell to ship the products to Amazon’s warehouses; these products would be
presented for sale within the Amazon.com Web site, and, if and when sold,
would be shipped by Amazon to the buyer.” Amazon may ship a product
offered by one third-party seller together with products offered by other third-
party sellers or by Amazon itself. Amazon controls the packaging for the
shipment, which may include Amazon branding and Amazon-specific
messaging.
      To return an FBA product, the customer ships it back to Amazon, not
the third-party seller. Amazon inspects the product and determines whether
the product can be resold. If so, it will return it to the third-party seller’s
inventory at the Amazon warehouse. If not, the third-party seller can have it
sent back to its own facilities.
      In the FBA program, as Bolger’s expert explained, “Amazon ‘owns’ the
customer. This means that Amazon owns and controls the relationship with


1      Although Amazon normally remits the sales proceeds on a schedule, it
reserves the right to withhold or delay payment if it concludes the third-party
seller’s actions or performance “may result in customer disputes, chargebacks
or other claims” related to its Amazon sales. Amazon also requires sellers to
provide bank account and credit card information, which Amazon may use to
obtain any amounts payable by the seller to Amazon.

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the buyer; the individual or company supplying products to the FBA program
does not. The supplier has no direct relationship with the buyer, and indeed
in most cases does not even have an indirect relationship with the buyer.
That is, in most cases there are no communications between FBA supplier
and buyer; the FBA supplier simply discovers in a report or some other form
of notification that a product has been sold to the buyer.” Amazon does not
contact the seller for approval of the purchase; Amazon itself decides whether
to allow the transaction to go through.
      Bolger’s expert continued, “On occasions when communications
between FBA suppliers and buyers, or between FBA suppliers and potential
buyers, is necessary—when, for instance, a buyer has a problem with the
product or a potential buyer has a pre-purchase question—communication is
‘anonymized.’ That is, Amazon provides a message console on the Amazon
Marketplace Web site that sends messages between the two parties[’] e-mail
addresses, though neither party is provided with the other party’s actual
email address.” Amazon requires third-party sellers to use only the tools and
methods designated by Amazon to communicate with Amazon customers.
Amazon prohibits third-party sellers from contacting customers to collect
payments or influence their purchasing decisions. Indeed, third-party sellers
may not use Amazon customer or transaction information “for any marketing
or promotional purposes whatsoever.”
      Third-party sellers in the FBA program pay storage and fulfillment fees
to Amazon, in addition to the general seller and referral fees paid by all
third-party sellers. Amazon assesses still other fees in specific
circumstances, such as for processing returns. Third-party sellers can also
use the FBA program to fulfill orders placed through non-Amazon channels.




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      Amazon’s contractual relationship with its third-party sellers is
governed by its Business Solutions Agreement (BSA), which Amazon requires
all third-party sellers to accept. The BSA states that Amazon and a third-
party seller are independent contractors, with no agency or employment
relationship. Under the BSA, a third-party seller must represent that it is a
duly organized business existing in good standing and will comply with all
applicable laws. A third-party seller must indemnify Amazon for any claim
related to its products sold through Amazon. If its sales are above a certain
threshold, a third-party seller must obtain general commercial liability
insurance, listing Amazon as an additional named insured.
      The BSA prohibits third-party sellers from offering certain products
through the Amazon website (the products are either restricted altogether, or
may be sold only with Amazon’s permission). It also generally prohibits
sellers from listing a product at a higher price than the seller offers through
other channels. If a third-party seller violates Amazon’s policies or applicable
law, Amazon may take corrective action, including suspending the seller,
destroying inventory without compensation, and permanently withholding
payments.
      Amazon provides its customers with an “A-to-z Guarantee” for
purchases made on its website, including from third-party sellers. The
guarantee states, “We want you to buy with confidence anytime you make a
purchase on the Amazon.com website or use Amazon Pay; that’s why we
guarantee purchases from third-party sellers when payment is made via the
Amazon.com website . . . . The condition of the item you buy and its timely
delivery are guaranteed under the Amazon A-to-z Guarantee.” The A-to-z
Guarantee covers defective products sold by third-party sellers. If a customer
encounters a problem, he or she is required to attempt to contact the third-


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party seller through Amazon, but if the third-party seller does not respond,
Amazon will refund the customer the product cost, the original shipping cost,
and the return shipping cost. Amazon may seek reimbursement of this
refund from the third-party seller.
      In addition, Amazon attempts to ensure the products offered by third-
party sellers are safe. Amazon states that customer safety is a top priority.
As Amazon’s person-most-knowledgeable explained at his deposition,
“[W]e’ve got a long and well-developed product-safety process, and that starts
from the very beginning. When a third-party seller signs up to sell on the
platform, they have to agree to the [BSA], which contains very clearly
language that says they have to sell products that meet all the compliance
requirements for the jurisdictions that they’re going to be selling the product
in. [¶] Once products are being sold, we have a robust and active process to
monitor for any customer complaints that come in. Regardless of the format
that those come in, we track those, we log those, we report those things to
[the Consumer Products Safety Commission]. [¶] And as—depending on the
severity of the scope, the frequency, variety of factors, we will decide whether
or not we’re going to continue to sell a particular product or not. And that’s
an ongoing process. That happens every single day for every single product
on the website . . . .” Later, he stated, “You know, Amazon does everything in
its power and goes above and beyond to make sure that we’re providing the
best customer experience, including safe products. And, you know, I want




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that for all of our customers and for myself when I buy from Amazon, so I

hope people believe that.”2
      Lenoge registered with Amazon as a third-party seller in December
2012. It chose to use the name “E-Life” on Amazon. Amazon’s person-most-
knowledgeable explained, “Sellers oftentimes don’t want to use whatever the
corporate entity name is, so they’re allowed to specify a display name or a
friendly name.” Lenoge participated in Amazon’s FBA program and later,
pursuant to that program, offered the laptop battery at issue here for sale.
      Bolger was part of Amazon’s membership program, Amazon Prime, and
often purchased products on Amazon. In August 2016, Bolger searched for
replacement laptop batteries on the Internet, followed a link to Amazon’s
website, and purchased the Lenoge battery. Amazon charged her credit card
for the $12.30 purchase price. The battery was stored at an Amazon
fulfillment center in Oakland, California. Because Bolger was an Amazon
Prime member, Amazon sent her the battery via free two-day shipping. She
received the battery a few days later in Amazon packaging, including an
Amazon-branded box with Amazon-branded shipping tape. Throughout the
process, Bolger had no contact with Lenoge or anyone other than Amazon.
She believed Amazon sold her the battery. Amazon’s total fee for the
transaction was $4.87, or approximately 40 percent of the purchase price.


2      Perhaps contradictorily, Amazon’s consumer “Conditions of Use” state,
“Parties other than Amazon operate stores, provide services, or sell product
lines through the Amazon Services. . . . We are not responsible for examining
or evaluating, and we do not warrant the offerings of, any of these businesses
or individuals or the content of their Web sites. Amazon does not assume any
responsibility or liability for the actions, product, and content of all these and
any other third parties.” The conditions go on to inform customers, in all
capital letters, that “YOU EXPRESSLY AGREE THAT YOUR USE OF THE
AMAZON SERVICES IS AT YOUR SOLE RISK.”

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      The next month, Amazon suspended Lenoge’s selling privileges because
it became aware of a “grouping” of safety reports on Lenoge’s laptop batteries
and Lenoge did not respond to Amazon’s requests for documentation. Three
weeks later, Amazon permanently blocked Lenoge’s account.
      Less than a month after Amazon permanently blocked Lenoge’s
account, Bolger was using her laptop when the replacement battery exploded.
Bolger suffered serious burns and was hospitalized for two weeks.
      Bolger filed this lawsuit in January 2017. As noted, her operative
complaint alleges causes of action for strict products liability, negligent
products liability, breach of implied warranty, breach of express warranty,
and “negligence/negligent undertaking.” She named Amazon and several
other companies allegedly involved in the design, manufacture, distribution,
or sale of the battery as defendants. Eventually Bolger added Lenoge as a
defendant as well. She served Lenoge with her complaint, but it did not
appear. The trial court entered its default. Another defendant, Herocell Inc.,
was also served and defaulted. Yet another defendant, Shenzhen Uni-Sun
Electronics Co., is located in the People’s Republic of China. Bolger initiated
service of process but was informed it could take two to three years to
complete.
      Bolger’s lawsuit was the first safety report Amazon received for the
specific replacement battery model Bolger purchased. Soon after Bolger filed
her complaint, Amazon “suppressed” the listing for the battery, i.e., it could
no longer be offered for sale on Amazon. It is Amazon’s standard practice to
“purge” or destroy inventory in its possession for a product that has been
suppressed.
      Three months later, Amazon sent Bolger an email warning her that
Amazon had learned that the Lenoge replacement battery “may present a fire


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hazard or not perform as expected[.]” The email advised, “If you still have
this product, we strongly recommend that you stop using the item
immediately.” It directed her to dispose of the battery at a recycling center or
waste disposal facility. The email informed her that Amazon had provided a
credit of the purchase price to her Amazon account. It concluded, “We trust
you will understand the safety and satisfaction of our customers is our
highest priority. [¶] Thanks for shopping at Amazon.com.” The email was

apparently sent to other customers who had purchased the battery as well.3
      After almost two years of litigation, Amazon filed its motion for
summary judgment. It primarily argued that it could not be held liable for
defects in the replacement battery because it did not manufacture, distribute,
or sell the battery to Bolger. It claimed it was merely a provider of services,
namely an online marketplace and logistics operation. Amazon also argued




3      Amazon’s person-most-knowledgeable explained, “So as part of ongoing
analysis of various products on the website, the safety team decided to—
started to look at laptop batteries specifically. And rather than looking at
just [product] by [product], they started to aggregate across other, you know,
vectors including seller. They found there was a pattern with certain
batteries and sellers of complaints. [¶] And so as a result of that for those
specific sellers and [products], they made the decision to message customers
and let them know that there was potential safety concerns and that we were
refunding their money.” Amazon now requires additional documentation,
including Underwriters Laboratories certification, from new sellers who
would like to offer replacement batteries on Amazon.

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that the CDA shielded it from liability because Bolger’s causes of action were

based on Amazon’s publication of Lenoge’s sales listing.4
      In support of its motion, Amazon submitted documentation of Bolger’s
purchase, the BSA, Amazon’s consumer “Conditions of Use,” and its A-to-z
Guarantee. It also submitted a declaration from an Amazon senior manager
responsible for product safety, investigations, and recalls. The manager
described Amazon’s business and the Lenoge battery transaction at issue.
She stated, “Amazon operates an online marketplace at www.amazon.com.
Though Amazon retails some products on its marketplace, the marketplace
has more than a million third-party sellers selling their own products.”
Specifically, she explained, “E-life sourced the battery from the manufacturer
or upstream distributors, sold the battery to [Bolger], set the price, provided
any warranty, and controlled the terms of its offer. Amazon did not design or
manufacture the product, sell or distribute the battery, set the price, provide
a warranty, or control the terms of the product offer. Similarly, Amazon was
not involved in sourcing the subject battery from the manufacturer or
upstream distributor.” The manager asserted that “E-life retained title to the
battery at all times,” and “E-life was also responsible for ensuring the battery
that it sold to [Bolger] was properly packaged and complied with all
applicable laws.” The manager acknowledged Amazon’s A-to-z Guarantee,




4     Amazon challenged Bolger’s cause of action for negligent undertaking
on the additional grounds that it had no duty to warn Bolger of safety issues
with Lenoge’s replacement batteries, that Bolger did not rely on any allegedly
negligent undertaking by Amazon, and that Amazon’s suspension of Lenoge’s
selling privileges did not increase the risk of harm to Bolger. Bolger does not
challenge the trial court’s order to the extent it summarily adjudicated her
negligent undertaking cause of action in Amazon’s favor. (See fn. 12, post.)

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but she denied it was a warranty. She stated, “The only warranty provided
for a product comes from the third-party seller.”
      Bolger opposed Amazon’s summary judgment motion. She argued that,
regardless whether Amazon was technically the seller of the replacement
battery, it was part of the chain of production and distribution and therefore
strictly liable for any defects. Bolger further argued that, even if Amazon
were not part of the chain of production and distribution, it was liable under
California’s marketing enterprise doctrine. (See Bay Summit Community
Assn. v. Shell Oil Co. (1996) 51 Cal.App.4th 762, 776 (Bay Summit).) Bolger
disagreed that the CDA applied to shield Amazon from liability.
      Bolger submitted several declarations, including her own, in opposition
to Amazon’s motion. Two of the declarations were from retained expert
witnesses, one in the field of e-commerce and the other in the field of
engineering. Bolger also submitted excerpts from the deposition transcripts
of several Amazon employees, including its designated person-most-

knowledgeable.5
      After hearing argument, the trial court granted Amazon’s motion for
summary judgment. It found that Amazon was not strictly liable for
defective products offered by third-party sellers on its website. Amazon was
not a seller or distributor of the replacement laptop battery. Instead, it was a
“provider of services by maintaining an online marketplace, warehousing and


5      Amazon objected on various grounds to much of Bolger’s evidence. The
trial court sustained a number of these objections, including to portions of
Bolger’s e-commerce expert declaration and the entirety of Bolger’s
engineering expert declaration. Bolger has not challenged these evidentiary
rulings on appeal. We therefore do not consider the merits of these rulings,
and we likewise do not consider any evidence to which objections were
sustained. (See Frittelli, Inc. v. 350 North Canon Drive, LP (2011)
202 Cal.App.4th 35, 41 (Frittelli).)

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shipping goods and processing payments.” The court also found that Amazon
was not strictly liable under the marketing enterprise doctrine. It likewise
found that Bolger’s warranty and negligent undertaking claims had no merit,
and Bolger had not offered any contrary arguments. The court entered
judgment in favor of Amazon, and Bolger now appeals.
                                  DISCUSSION
                                          I
                         Summary Judgment Standards
      “A defendant’s motion for summary judgment should be granted if no
triable issue exists as to any material fact and the defendant is entitled to a
judgment as a matter of law. [Citation.] The burden of persuasion remains
with the party moving for summary judgment. [Citation.] When the
defendant moves for summary judgment, in those circumstances in which the
plaintiff would have the burden of proof by a preponderance of the evidence,
the defendant must present evidence that would preclude a reasonable trier
of fact from finding that it was more likely than not that the material fact
was true [citation], or the defendant must establish that an element of the
claim cannot be established, by presenting evidence that the plaintiff ‘does
not possess and cannot reasonably obtain, needed evidence.’ ” (Kahn v. East
Side Union High School Dist. (2003) 31 Cal.4th 990, 1002-1003 (Kahn).)
      If the defendant “carries his burden of production, he causes a shift,
and the opposing party is then subjected to a burden of production of his own
to make a prima facie showing of the existence of a triable issue of material
fact.” (Aguilar v. Atlantic Richfield Co. (2001) 25 Cal.4th 826, 850.) “The
plaintiff . . . shall not rely upon the allegations or denials of its pleadings to
show that a triable issue of material fact exists but, instead, shall set forth




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the specific facts showing that a triable issue of material fact exists as to that
cause of action . . . .” (Code Civ. Proc., § 437c, subd. (p)(2).)
      “We review the record and the determination of the trial court de novo.”
(Kahn, supra, 31 Cal.4th at p. 1003.) “In performing our de novo review, we
must view the evidence in a light favorable to plaintiff as the losing party
[citation], liberally construing [the plaintiff’s] evidentiary submission while
strictly scrutinizing defendants’ own showing, and resolving any evidentiary
doubts or ambiguities in plaintiff’s favor.” (Saelzler, supra, 25 Cal.4th at
p. 768.)
                                          II
                             Strict Products Liability
      “[T]he concept of strict products liability was created and shaped
judicially. In its evolution, the doctrinal encumbrances of contract and
warranty, and the traditional elements of negligence, were stripped from the
remedy, and a new tort emerged which extended liability for defective
product design and manufacture beyond negligence but short of absolute
liability.” (Daly, supra, 20 Cal.3d at p. 733.) Our Supreme Court first
recognized the doctrine of strict liability for defective products more than
50 years ago. (See Greenman v. Yuba Power Products, Inc. (1963) 59 Cal.2d
57, 62 (Greenman).) Initially limited to manufacturers, the doctrine reflected
judicial concern that “the costs of injuries resulting from defective products
are borne by the manufacturers that put such products on the market, rather
than by the injured persons who are powerless to protect themselves.” (Id. at
p. 63.)
      Soon after, the Supreme Court extended strict liability to retailers:
“Retailers like manufacturers are engaged in the business of distributing
goods to the public. They are an integral part of the overall producing and


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marketing enterprise that should bear the cost of injuries resulting from
defective products. [Citation.] In some cases the retailer may be the only
member of that enterprise reasonably available to the injured plaintiff. In
other cases the retailer himself may play a substantial part in insuring that
the product is safe or may be in a position to exert pressure on the
manufacturer to that end; the retailer’s strict liability thus serves as an
added incentive to safety. Strict liability on the manufacturer and retailer
alike affords maximum protection to the injured plaintiff and works no
injustice to the defendants, for they can adjust the costs of such protection
between them in the course of their continuing business relationship.”
(Vandermark, supra, 61 Cal.2d at pp. 262-263.)
      Our Supreme Court has “given [the] rule of strict liability a broad
application.” (Price, supra, 2 Cal.3d at p. 250.) “Such a broad philosophy
evolves naturally from the purpose of imposing strict liability . . . .
Essentially the paramount policy to be promoted by the rule is the protection
of otherwise defenseless victims of manufacturing defects and the spreading
throughout society of the cost of compensating them.” (Id. at p. 251,
fn. omitted.) In its first decade, the rule was made applicable to numerous
businesses in the chain of distribution of a product, including bailors and
lessors, wholesalers and distributors, and sellers of mass-produced homes.
(Cronin v. J.B.E. Olson Corp. (1972) 8 Cal.3d 121, 130 (Cronin).)
      Interpreting these foundational precedents, courts have generally
applied the doctrine of strict products liability to entities “involved in the
vertical distribution of consumer goods,” where the policies of the doctrine
support its application. (Bay Summit, supra, 51 Cal.App.4th at p. 773.)
“Although these defendants were not necessarily involved in the manufacture
or design of the final product, each was responsible for passing the product


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down the line to the consumer. Thus, the parties were ‘able to bear the cost
of compensating for injuries’ [citation] and ‘play[ed] a substantial part in
insuring that the product [was] safe or . . . [were] in a position to exert
pressure on the manufacturer to that end.’ ” (Ibid.) “Beyond manufacturers,
anyone identifiable as ‘an integral part of the overall producing and
marketing enterprise’ is subject to strict liability.” (Arriaga v. CitiCapital
Commercial Corp. (2008) 167 Cal.App.4th 1527, 1534 (Arriaga).)
      The doctrine of strict products liability, while broad, is not unlimited.
It does not cover injuries caused by a defective product in all situations where
the product was in some sense distributed or provided by the defendant. For
example, in Peterson v. Superior Court (1995) 10 Cal.4th 1185 (Peterson), our
Supreme Court rejected prior precedent extending the doctrine to hotel
proprietors and residential landlords whose guests or tenants are injured by
a defect in the leased dwelling or other premises. (Id. at p. 1210.) And courts
have repeatedly found that dealers in used products are not strictly liable for
defects in those products, unless they rebuild or recondition them and
thereby assume a role analogous to a manufacturer. (Id. at pp. 1201-1202
[discussing cases].)
      “[R]ecovery under the doctrine of strict liability is limited solely to
‘physical harm to person or property.’ [Citation.] Damages available under
strict products liability do not include economic loss, which includes
‘ “ ‘damages for inadequate value, costs of repair and replacement of the
defective product or consequent loss of profits—without any claim of personal
injury or damages to other property . . . .’ ” ’ ” (Jimenez, supra, 29 Cal.4th at
p. 482.)
      To determine whether the doctrine of strict products liability should be
applied in a situation that has not been considered by previous precedents,


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California courts primarily look to the purposes of the doctrine. (O’Neil,
supra, 53 Cal.4th at p. 362.) “The strict liability doctrine derives from
judicially perceived public policy considerations, i.e., enhancing product
safety, maximizing protection to the injured plaintiff, and apportioning costs
among the defendants. [Citations.] Where these policy justifications are not
applicable, the courts have refused to hold the defendant strictly liable even if
that defendant could technically be viewed as a ‘ “link in the chain” ’ in
getting the product to the consumer market. [Citation.] In other words, the
facts must establish a sufficient causative relationship or connection between
the defendant and the product so as to satisfy the policies underlying the
strict liability doctrine.” (Arriaga, supra, 167 Cal.App.4th at p. 1535.)
      Although the precise transaction at issue here is a matter of first
impression in California, two analogous (albeit substantially pre-Internet)
cases are instructive: Canifax v. Hercules Powder Co. (1965) 237 Cal.App.2d
44 (Canifax) and Barth v. B.F. Goodrich Tire Co. (1968) 265 Cal.App.2d 228
(Barth).
      In Canifax, the plaintiff was injured when an allegedly defective fuse
caused dynamite to accidentally explode during excavation of an
underground tunnel. (Canifax, supra, 237 Cal.App.2d at pp. 46-47.) The
defendant acted as an intermediary between the “jobber” who sold the fuse
and the manufacturer. (Id. at pp. 47-48.) The customer purchased the fuse
(and related supplies) from the jobber, who in turn placed an order with the
defendant. (Ibid.) The defendant passed on the order for the fuse to the
manufacturer, who shipped the fuse directly to the jobber. (Id. at p. 48.)
“[Defendant] never had possession of the fuse. It did, however,
‘subsequently . . . bill the customer and pay the manufacturer’s invoice.’ ”
(Ibid.)


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      The appellate court held that the rule of strict products liability applies
“to ‘any person engaged in the business of selling,’ and therefore applies not
only to manufacturers but ‘to any wholesale or retail dealer or distributor.’
Thus, with the operations of [the defendant] described, it should undoubtedly
be included within the rule. The fact that it chooses to delegate the
manufacture of [the] fuse to another and that it causes the manufacturer to
ship the product directly to the consumer cannot be an escape hatch to avoid
liability.” (Canifax, supra, 237 Cal.App.2d at p. 52, quoting Rest.2d Torts,
§ 402A, com. f.)
      Like the defendant in Canifax, Amazon acted as an intermediary
between an upstream supplier and the ultimate consumer. Amazon accepted
an order for a product, billed the consumer, and remitted the proceeds to the
upstream supplier. Indeed, in this case Amazon went further. It took
possession of the product, so it fulfilled the consumer’s order directly.
      In Barth, a woman was killed and her passengers injured when the
station wagon the woman was driving crashed, allegedly as a result of a
defective tire. (Barth, supra, 265 Cal.App.2d at pp. 233-234.) The station
wagon had been provided to the woman’s husband by his employer. (Id. at
p. 234.) The employer had an agreement with B.F. Goodrich to supply
replacement tires, on a national basis, to the employer’s fleet of vehicles. (Id.
at pp. 234, 248.) When the station wagon needed new tires, the employer
ordered them from Biltmore, a B.F. Goodrich distributor in the Midwest.
(Ibid.) Apparently because the station wagon was located in California, the
employer requested that Biltmore “issue a draw number to B.F. Goodrich in
San Francisco” for the replacement tires. (Id. at p. 248.) The husband
received a purchase order to pick up the tires at Perry & Whitelaw, a
wholesale and retail B.F. Goodrich distributor in San Francisco. (Id. at


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pp. 234, 248.) Perry & Whitelaw retrieved two tires from its inventory and
installed them on the station wagon. (Ibid.)
      Perry & Whitelaw was among several defendants in the resulting
litigation. (Barth, supra, 265 Cal.App.2d at p. 233.) The appellate court
summarized the mechanics of the transaction as follows: “Perry & Whitelaw
had received the Biltmore draw order, advising them to release the tires to
[the employer]. Perry & Whitelaw’s invoice indicated that the tires were sold
to Goodrich, were to be delivered to [the employer], and charged to Biltmore.
Perry & Whitelaw sent this invoice to Goodrich, who, in turn, billed Biltmore,
and allowed Perry & Whitelaw a service charge for handling the transaction,
as well as a credit for the tires removed from its stock.” (Id. at p. 249.)
      In the trial court, the jury rejected plaintiffs’ cause of action for strict
products liability against Perry & Whitelaw. (Barth, supra, 265 Cal.App.2d
at p. 233.) On appeal, the plaintiffs argued the trial court erred by
instructing the jury that Perry & Whitelaw could be strictly liable only if it
“sold” the tire in question to the employer. (Id. at p. 250.) The trial court
defined a sale as “ ‘a transfer or an agreement to transfer goods to a buyer for
a price.’ ” (Ibid.)
      The appellate court reversed the judgment. (Barth, supra,
265 Cal.App.2d at p. 254.) It held that a sale, as defined by the trial court,
was not required for strict liability to apply. (Id. at pp. 251-252.) It
explained that strict liability extended to “any person engaged in the
business of selling products for use or consumption therefore including any
manufacturer, wholesaler or retail dealer or distributor as well as operators
of restaurants.” (Id. at pp. 250-251, citing Rest.2d Torts, § 420A, com. f,
italics omitted.) The appellate court concluded, “Clearly, Perry & Whitelaw
was a distributor within the Restatement definition of the term seller for the


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purpose of the application of the doctrine of strict liability and the [jury]
instructions were erroneous.” (Id. at p. 251.)
      The appellate court specifically rejected Perry & Whitelaw’s argument
that “it was not a ‘seller’ of the tire to [the employer] but only served as a
conduit for the sale that was made by Goodrich through Biltmore to [the
employer]; that the situation is analogous to a transaction where Perry &
Whitelaw merely installed a tire ordered by a customer from another retailer
or wholesaler.” (Barth, supra, 265 Cal.App.2d at p. 251.) The court held that
“neither the transfer of title to the goods nor a sale is required” for strict
liability to apply. (Id. at pp. 251-252.) Perry & Whitelaw retrieved the tires
from its inventory and benefitted from the transaction in the form of a fee
(service charge) from B.F. Goodrich, reimbursement for the tires, and the
continued ability to service Goodrich’s national accounts. (Id. at p. 252.)
      Moreover, the rationale for the doctrine of strict liability supported its
application to Perry & Whitelaw. (Barth, supra, 265 Cal.App.2d at pp. 252-
253.) “[T]he reasons for placing losses due to defective products on the
manufacturers and suppliers are to provide maximum protection for the
consumer and the fact that the overall producing and marketing enterprise is
in a better position to insure against the liability and to distribute it to the
public by adding the cost thereof to the price of the product.” (Id. at p. 253.)
Citing Canifax, the court pointed out, “It is established that a wholesaler
distributor who neither manufactures the product nor has possession of the
goods can be held to the doctrine of strict liability.” (Ibid.) In general, “all
suppliers in the chain of getting goods from the manufacturer to the
consumer should be held” strictly liable. (Ibid.)
      Like the defendant in Barth, Amazon was a link in the chain of product
distribution even if it was not a seller as commonly understood. Pursuant to


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a contract with the seller, Amazon retrieved the product from its warehouse
and supplied it to the consumer. And again, Amazon went further. Its
business model compels the consumer to interact directly with Amazon, not
the seller, to place the order for the product and pay the purchase price.
      Ultimately, however, neither Canifax nor Barth fully anticipated the
details of Amazon’s involvement in the transaction at issue here. Our review
of the record shows that Amazon played an even more meaningful role in this
transaction than the defendant in either of those earlier cases.
      Amazon created the environment (its website) that allowed Lenoge to
offer the replacement battery for sale. Amazon attracted customers through
its own activities, including its direct offers for sales and its Amazon Prime
membership program, which includes benefits for some products offered by
third-party sellers (including the Lenoge replacement battery at issue here).
Amazon set the terms of Lenoge’s involvement, and it demanded fees in
exchange for Lenoge’s participation. Amazon required Lenoge to indemnify it
and, assuming Lenoge met the sales threshold, to obtain general commercial
liability insurance listing Amazon as an additional named insured. Because
Lenoge participated in the FBA program, Amazon accepted possession of
Lenoge’s products, registered them in its inventory system, and stored them
in an Amazon warehouse awaiting sale. Amazon created the format for
Lenoge’s offer for sale and allowed Lenoge to use a fictitious name in its
product listing. The listing itself conforms to requirements set by Amazon.
Even setting aside the use of a fictitious name, the listing does not
conspicuously inform the consumer of the identity of the third-party seller or
the nature of Amazon’s relationship to the sale.
      To purchase the product, the consumer adds it to her Amazon cart, not
her Lenoge or E-Life cart. The consumer pays Amazon for the product, not


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Lenoge or E-Life. And, in the FBA program, Amazon personnel retrieve the
product from its place in an Amazon warehouse and ship it to the consumer
in Amazon-branded packaging. If convenient, Amazon will ship the product
together with products sold by other third-party sellers or by Amazon itself.
      Lenoge is not involved in the sales transaction. It does not approve the
sale before it is made. It may not even know a sale has occurred until it
receives a report from Amazon. It does not receive payment until Amazon
chooses to remit the proceeds. Its use of any customer or transaction
information, if it even receives any from Amazon, is strictly limited. But it
accepts the burden of substantial fees for Amazon’s participation,
approximately 40 percent here.
      If a customer wishes to return the product, she ships it back to Amazon
under the FBA program. Amazon personnel inspect the product, determine
whether it can be resold, and if so return it to inventory in the Amazon
warehouse. Third-party sellers like Lenoge are prohibited from
communicating with Amazon customers except through the Amazon website,
where such interactions are anonymized.
      Given these facts, Amazon is an “integral part of the overall producing
and marketing enterprise that should bear the cost of injuries resulting from
defective products.” (Vandermark, supra, 61 Cal.2d at p. 262.) Amazon was
“involved in the vertical distribution of consumer goods” and “responsible for
passing the product down the line to the consumer.” (Bay Summit, supra,
51 Cal.App.4th at p. 773.) It was one of the entities “responsible for placing a
defective product into the stream of commerce.” (O’Neil, supra, 53 Cal.4th at
p. 349.) Amazon enabled Lenoge to offer the replacement battery for sale,
inventoried and stored the replacement battery, accepted Bolger’s order for
the battery, billed Bolger the purchase price for the battery, received her


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payment, retrieved the battery from its inventory, and shipped the battery to
her in Amazon-branded packaging.
      Our consideration of the policies underlying the doctrine of strict
products liability confirm that the doctrine should apply here. Amazon is
“ ‘an integral part of the overall producing and marketing enterprise,’ may in
a particular case ‘be the only member of that enterprise reasonably available
to the injured plaintiff,’ and may be in the best position to ensure product
safety.” (Jimenez, supra, 29 Cal.4th at p. 479.) Amazon can, and indeed
already does, “adjust the costs of liability in the course of [its] continuing
business relationship with other participants in the overall manufacture and
marketing enterprise.” (Ibid.) For each of these policies, Amazon functions
in much the same manner as a conventional retailer. Because the
“ ‘overriding policy considerations’ ” are similar for each (id. at p. 480),
Amazon should be held strictly liable. We will discuss each policy in turn.
      First, Amazon, like conventional retailers, may be the only member of
the distribution chain reasonably available to an injured plaintiff who
purchases a product on its website. (Vandermark, supra, 61 Cal.2d at
p. 262.) The Amazon website, and especially the FBA program, enables
manufacturers and sellers who have little presence in the United States to
sell products to customers here. In fact, the Amazon-designed features
described above facilitate such a limited presence. The dilemma for an
injured plaintiff is illustrated by this litigation, where two defendants have
been served and failed to appear, and a third defendant can only be served in
China. Other plaintiffs have encountered similar obstacles. (See, e.g., Fox v.
Amazon.com, Inc. (6th Cir. 2019) 930 F.3d 415, 424 (Fox).) Because imposing
strict liability on Amazon would help compensate some injured plaintiffs who
would otherwise go uncompensated, Amazon’s inclusion within the rule


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would promote its purposes. “By extending liability to entities farther down
the commercial stream than the manufacturer, the policy of compensating
the injured plaintiff is preserved, and retailers and distributors remain free
to seek indemnity against the manufacturer of the defective product.”
(Kaminski v. Western MacArthur Co. (1985) 175 Cal.App.3d 445, 456
(Kaminski).)
      Second, Amazon, again like conventional retailers, “may play a
substantial part in insuring that the product is safe or may be in a position to
exert pressure on the manufacturer to that end; the retailer’s strict liability
thus serves as an added incentive to safety.” (Vandermark, supra, 61 Cal.2d
at p. 262.) Amazon’s current efforts in this area show it has the capacity to
exert its influence on third-party sellers to enhance product safety. It has “a
robust and active process” to monitor, track, and log consumer complaints. It
analyzes these complaints and determines whether to continue allowing a
product to be offered for sale on Amazon. Amazon requires third-party
sellers, as a contractual matter, to comply with all applicable laws and
regulations. It has the power to demand proof of such compliance, or of
additional certifications, before a third-party seller may offer products for
sale. For example, Amazon recently imposed a requirement for Underwriters
Laboratory certification for third-party sellers that intend to offer
replacement batteries. If Amazon is unsatisfied with a third-party seller’s
response, or if its products turn out to be defective, Amazon has the power to
suspend sales of certain products or block a third-party seller from offering
products for sale—as it did with Lenoge. Just like a conventional retailer,
Amazon can use its power as a gatekeeper between an upstream supplier and
the consumer to exert pressure on those upstream suppliers (here, third-
party sellers) to enhance safety. It therefore serves the purposes of the


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doctrine to impose strict liability on Amazon, by adding an extra incentive for
Amazon to do so.
      Relatedly, the record shows that products sold on Amazon enjoy an
“implied representation of safety,” which also supports the imposition of strict
liability under the circumstances here. (Peterson, supra, 10 Cal.4th at
p. 1202.) As Amazon’s person-most-knowledgeable claimed at his deposition,
“Amazon does everything in its power and goes above and beyond to make
sure that we’re providing the best customer experience, including safe
products. And, you know, I want that for all of our customers and for myself
when I buy from Amazon, so I hope people believe that.” Because Amazon
customers have an expectation of safety—and Amazon specifically encourages
that expectation—it is appropriate to hold Amazon strictly liable when a
defective product is sold through its website.
      Third, Amazon, like conventional retailers, has the capacity to adjust
the cost of compensating injured plaintiffs between itself and the third-party
sellers in the course of their ongoing relationship. (Vandermark, supra,
61 Cal.2d at p. 263.) Amazon already imposes continuing contractual duties
on third-party sellers, including the requirement that third-party sellers
broadly indemnify Amazon. Amazon requires third-party sellers to provide
credit card and bank account information to ensure those duties are enforced.
Additionally, Amazon can delay or withhold payments to a third-party seller
if it determines the seller’s actions or performance “may result in customer
disputes, chargebacks or other claims” related to its Amazon sales. If a third-
party seller’s revenues exceed a certain threshold, the third-party seller must
also obtain general commercial liability insurance, listing Amazon as an
additional named insured. These provisions already distribute costs between
Amazon and the third-party sellers. We note these provisions are merely


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illustrative of Amazon’s ability to adjust the costs of liability between itself
and third-party sellers; the imposition of strict liability does not depend on
the current existence of any of these provisions. Because Amazon has the
ability to adjust the cost of compensating injured plaintiffs between itself and
third-party sellers, imposing strict liability on Amazon along with other
members of the chain of distribution serves the purposes of the doctrine.
(See, e.g., State Farm Fire & Casualty Co. v. Amazon.com, Inc. (W.D.Wis.
2019) 390 F.Supp.3d 964, 972 (State Farm) [“The undisputed facts show that
Amazon is an integral part of the chain of distribution, an entity well-
positioned to allocate the risks of defective products to the participants in the
chain.”].)
      In its contrary arguments, Amazon focuses on dictionary definitions of
“seller” and “distributor” and claims it cannot be held strictly liable because
those definitions do not apply to it. It characterizes its business as a service,
i.e., a forum for others to sell their products, and therefore outside the rule of
strict liability. It also contends the policy considerations behind the rule do
not support its application here. Amazon’s arguments are unpersuasive.
      Dictionary definitions of seller and distributor do not define the scope of
strict liability in California. Nor does Commercial Code section 2106,
defining a “sale” for purposes of the law of sales. Amazon has not cited any
California precedent applying such definitions to determine the scope of strict
liability. Out-of-state authorities relying on such definitions (see, e.g., Erie
Insurance Co. v. Amazon.com, Inc. (4th Cir. 2019) 925 F.3d 135, 141 (Erie)) or




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the sales requirement of title transfer (see, e.g., Eberhart v. Amazon.com, Inc.

(S.D.N.Y. 2018) 325 F.Supp.3d 393, 398) are inapplicable.6
      The doctrine of strict liability in California was intended to cut through
such technicalities and compensate plaintiffs for injuries caused by defective
products. (See Price, supra, 2 Cal.3d at p. 251; Daly, supra, 20 Cal.3d at
p. 733; see also Kaminski, supra, 175 Cal.App.3d at p. 457 [“ ‘The constant
theme of strict tort liability has been “to elevate justice and equity above the
exact contours of a mathematical equation. . . .” ’ ”].) The doctrine applies to
every entity involved in the vertical distribution of consumer goods, so long as
the policies of the doctrine support its application. (Arriaga, supra,
167 Cal.App.4th at pp. 1534-1535; Bay Summit, supra, 51 Cal.App.4th at
p. 773.) Where an entity is “an integral part of the overall producing and
marketing enterprise” for a consumer product, it should bear the cost of
injuries resulting from product defects. (Vandermark, supra, 61 Cal.2d at
p. 262; accord, Jimenez, supra, 29 Cal.4th at p. 479.)
      In a similar vein, Amazon argues that sellers have control over a
product, and “control is the touchstone for product liability.” To support this


6     The issue of Amazon’s strict liability for third-party sales has been, and
continues to be, litigated in state and federal courts across the country. The
parties have cited numerous published and unpublished authorities from
other jurisdictions. Some hold Amazon strictly liable (see, e.g., State Farm,
supra, 390 F.Supp.3d at p. 973), while others do not (see, e.g., Erie, supra,
925 F.3d at p. 144). Ultimately these authorities are of limited utility. Many
are arguably factually distinguishable, including because the product at issue
was not sold through Amazon’s FBA program. Many are arguably legally
distinguishable, including because other state statutes or case law have
limited strict liability in a manner inconsistent with California law. We have
reviewed the authorities cited by the parties and have, to a limited extent,
included citations where helpful in this opinion. Further discussion of each
authority cited by the parties would not add to our analysis or be useful for
the reader.

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proposition, Amazon quotes O’Neil, supra, 53 Cal.4th at page 349: “It is
fundamental that the imposition of liability requires a showing that the
plaintiff’s injuries were caused by an act of the defendant or an
instrumentality under the defendant’s control.” O’Neil has no application
here, since it involved an attempt to hold a manufacturer responsible for
defects in another manufacturer’s product. (Ibid.) Unlike Amazon, the
defendant in O’Neil had no involvement with the other manufacturer’s
product and was not part of the product’s chain of distribution. (Id. at
pp. 349-350.) But accepting the quoted statement at face value, it does not
support Amazon’s position. Amazon had control over both the product at
issue and the transaction that resulted in its sale to Bolger. It constructed
the Amazon website, accepted Lenoge as a third-party seller, marketed
Lenoge’s offer for sale, took possession of the replacement battery, accepted
Bolger’s order for the battery, billed her for the purchase price, and shipped
her the battery in Amazon-branded packaging. But for Amazon’s own acts,
Bolger would not have been injured. Amazon’s own acts, and its control over

the product in question, form the basis for its liability.7
      Amazon relies heavily on the suggestion that it did not choose to offer
the Lenoge replacement battery for sale. It is true that an Amazon employee
does not appear to have selected the Lenoge replacement battery for sale, to
the exclusion of other competing replacement batteries. But that fact is not



7      As one commentator has explained, “All those involved in the
distribution chain play a part in stimulating consumer demand for the
product through advertising and marketing techniques in order to enhance
their own profits. By so doing, they necessarily increase the number of
persons exposed to risk of injury from the product. Having increased the
risk, they should bear the burden of resulting injuries.” (Zerne et al., Cal.
Practice Guide: Personal Injury (The Rutter Group 2019) ¶ 2:1178.)

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determinative here for two reasons. First, regardless whether Amazon
selected this particular battery for sale, it chose to host Lenoge’s product
listing, accept Lenoge into the FBA program, take possession of the battery,
accept Bolger’s order, take her payment, and ship the battery to her. Amazon
is therefore part of the chain of distribution even if it did not consciously
select the Lenoge replacement battery for sale. Second, and more
fundamentally, Amazon did choose to offer the Lenoge replacement battery
for sale. Amazon is no mere bystander to the vast digital and physical
apparatus it designed and controls. It chose to set up its website in a certain
way, it chose certain terms and conditions for third-party sellers and their
products, it chose to create the FBA program, it chose to market third-party
sellers’ products in a certain manner, it chose to regulate third-party sellers’
contact with its customers, it chose to extend certain benefits to its customers
and members who purchase third-party sellers’ products, and most
importantly it chose to allow the sale at issue here to occur in the manner
described above. Amazon made these decisions consciously, and if it had
made different decisions, the mix of products offered and sold on its website
would have been different. The Lenoge replacement battery might not even
have been offered for sale—as indeed it currently is not because of safety
concerns. Nothing aside from Amazon’s own choices required it to allow
Lenoge to offer its product for sale, to store Lenoge’s product at its
warehouse, to accept Bolger’s order, or to ship the product to her. It made
these choices for its own commercial purposes. It should share in the
consequences.
      Amazon analogizes its role to an auctioneer or finance lessor, which
California courts have found not strictly liable for product sales that they
merely facilitate. This analogy is inapt.


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      The auctioneer precedents apparently involve the sale of used goods,
which for obvious reasons are distinguishable. (Brejcha v. Wilson Machinery
Inc. (1984) 160 Cal.App.3d 630, 635-636; Tauber-Arons Auctioneers Co. v.
Superior Court (1980) 101 Cal.App.3d 268, 274; see Peterson, supra,
10 Cal.4th at pp. 1201-1202.) One opinion suggested in dicta that an
auctioneer who was the exclusive sales agent for new consumer goods would
be strictly liable. (Tauber-Arons, at p. 276.) In any event, the role of the
auctioneers in these opinions was much more limited than Amazon’s role.
The auctioneers played no more than a “random and accidental role” in
transferring the goods from the seller to the buyer. (Brejcha, at p. 641;
Tauber-Arons, at p. 284.) They had no continuing relationship with anyone
in the original chain of distribution to the consumer and therefore could not
exert any influence on product safety. (Tauber-Arons, at p. 283.) Here,
Amazon was part of the original chain of distribution, and its role was
anything but random and accidental. The auctioneer precedents are
inapposite.
      Finance lessors were at issue in Arriaga, supra, 167 Cal.App.4th 1527.
The court summarized their commercial role as follows: “To a substantial
extent, the role of a finance lessor may be analogized to the role of a bank
that loans money to its clients. [Citation.] However, rather than simply
loaning the money for the purchase to the ultimate user of the equipment,
the transaction is set up as a ‘lease,’ with the lessor ‘purchasing’ the
equipment for the specific purpose of ‘renting’ it to the user. [Citation.]
Accordingly, the finance lease can be thought of as a ‘disguised’ security
agreement, a secured installment sales contract, or a lease ‘ “ ‘intended as
security.’ ” ’ [Citation.] Normally, the lessor is unfamiliar with the particular
equipment involved. [Citation.] Further, although this security agreement is


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written in lease form, the finance lessor does not expect to retake the
equipment at the end of the lease period. [Citation.] Therefore, the parties
generally execute a contemporaneous option whereby the user can purchase
title to the equipment from the lessor at the end of the lease period for an
amount less than the then expected value of the equipment.” (Id. at p. 1536.)
      Arriaga accepted that finance lessors may be a link in the vertical
chain of distribution. (Arriaga, supra, 167 Cal.App.4th at p. 1538.) But, as
noted above, “strict liability is not imposed even if the defendant is
technically a ‘link in the chain’ in getting the product to the consumer market
if the judicially perceived policy considerations are not satisfied. Thus, a
defendant will not be held strictly liable unless doing so will enhance product
safety, maximize protection to the injured plaintiff, and apportion costs
among the defendants.” (Id. at p. 1537.)
      Arriaga found that a critical policy consideration behind the doctrine of
strict liability, enhancing product safety, would not be satisfied by imposing
liability on finance lessors. (Arriaga, supra, 167 Cal.App.4th at p. 1538.) “A
finance lessor . . . does not select the specific machine or manufacturer of the
machine. Accordingly, unlike a retailer or a commercial lessor, the finance
lessor does not maintain an ongoing relationship with a particular
manufacturer. Thus, the finance lessor is not in any position to either
directly or indirectly exert pressure on the manufacturer to enhance the
safety of the product.” (Ibid.) Here, unlike a finance lessor, Amazon does
have a continuing relationship with its third-party sellers. Lenoge was an
Amazon seller for four years before the sale at issue here. Amazon can and




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does exert pressure on those sellers to enhance the safety of their products.

Arriaga is therefore inapplicable.8
      Amazon also cites the Restatement Third of Torts, Products Liability,
section 20, comment g, which states, “Persons assisting or providing services
to product distributors, while indirectly facilitating the commercial
distribution of products, are not subject to liability under the rules of this
Restatement. Thus, commercial firms engaged in advertising products are
outside the rules of this Restatement, as are firms engaged exclusively in the
financing of product sale or lease transactions. Sales personnel and
commercial auctioneers are also outside the rules of this Restatement.”
      Amazon does not explain how it fits within this exclusion, nor does it
attempt to assess whether the exclusion is consistent with California law.
Our Supreme Court, which originated the doctrine of strict products liability,
has not hesitated to disagree with the Restatement where it has unduly
limited the doctrine. (See, e.g., Cronin, supra, 8 Cal.3d at pp. 131, 135; Price,
supra, 2 Cal.3d at p. 253.) Amazon’s bare citation does not call into question
the analysis we have undertaken above. In any event, Amazon’s activities go
far beyond “indirectly facilitating the commercial distribution of products,” as
described in the Restatement.
      Regarding the policies to be served by the doctrine, Amazon first claims
that the Legislature, not this court, is the appropriate forum to address



8      Amazon also compares itself variously to a shopping mall landlord, a
credit card issuer, a trucking company, an Internet search provider, or a
newspaper running classified advertisements. Amazon claims that holding it
strictly liable would lead to strict liability for these entities as well. Amazon
does not support this claim with any legal argument, and the obvious
differences between Amazon and those entities do not need to be elucidated
here.

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whether those policies would be served in new contexts. Amazon does not
cite any California authority for this claim, which is unsurprising because it
runs directly contrary to California law. Strict liability is a common law
doctrine in California. It was created by the courts, which have expanded
and contracted the doctrine where warranted by its purposes. (Daly, supra,
20 Cal.3d at p. 733; Acqua Vista Homeowners Assn. v. MWI, Inc. (2017)
7 Cal.App.5th 1129, 1143.) Amazon implies that e-commerce is somehow
different. But the fact that the Legislature has enacted laws regulating e-
commerce in other ways (see, e.g., Rev. & Tax. Code, § 6042 [sales tax
collection]; Civ. Code, § 1798.91.04 et seq. [data security and software
downloads])—just as it regulates conventional commerce—does not mean
courts should defer to the Legislature on strict liability, which has not been

subject to regulation in the context of e-commerce or otherwise.9
      Amazon next contends that “expanding strict liability to websites for
products sold by others would not serve, and may even frustrate,” the policies
underlying the doctrine of strict liability. We note first that the issue in this
appeal is not whether “websites for products sold by others” should generally
be held strictly liable. It is whether Amazon may be held strictly liable for
the defective Lenoge replacement battery at issue here. Other factual
situations involving “websites for products sold by others,” including other


9      Amazon claims the Legislature would be best positioned to assess
allegedly countervailing policies including “consumer interest in a broad
selection of products and the fairness of imposing a tax on e-commerce,
including millions of upstanding sellers and small businesses, to insure
against isolated personal injuries.” Concerns over costs and the availability
of goods are not unique to e-commerce, however. California courts have
examined the applicability of strict liability in numerous diverse contexts,
including those discussed above. Amazon has provided no reason why the
courts cannot examine the doctrine in this context as well.

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sales through Amazon, may be distinguishable. We express no opinion
regarding whether strict liability should or should not apply in such
situations.
      Regarding product safety, Amazon primarily asserts that it does not
have relationships with manufacturers of third-party products, so it cannot
“directly” pressure the manufacturer. The assertion is unaccompanied by
any record citation, so we may disregard it. But even assuming that it is true
in some cases, Amazon is incorrect that a direct relationship with a
manufacturer is necessary to promote product safety. (See Kaminski, supra,
175 Cal.App.3d at pp. 456-457.) A conventional retailer, for example, is not
shielded from liability merely because it has an ongoing relationship with a
product’s distributor rather than its manufacturer. Amazon, like a
conventional retailer, can exert pressure on manufacturers indirectly through
the parties with whom it does have ongoing relationships, i.e., third party
sellers. (See Fox, supra, 930 F.3d at pp. 424-425; Gartner v. Amazon.com,
Inc. (S.D.Tex. 2020) 433 F.Supp.3d 1034, 1044; cf. Arriaga, supra,
167 Cal.App.4th at p. 1538 [“[T]he finance lessor is not in any position to
either directly or indirectly exert pressure on the manufacturer to enhance

the safety of the product.”].)10



10     In its response to an amicus curiae brief, Amazon goes further. It
claims that existing products liability law has had no effect on consumer
safety. It argues that the policy considerations underlying then-
Justice Traynor’s seminal concurring opinion in Escola v. Coca Cola Bottling
Co. of Fresno (1944) 24 Cal.2d 453, which was later adopted by the Supreme
Court in Greenman, supra, 59 Cal.2d at page 63, no longer apply to many
modern retail transactions, including those on Amazon. Needless to say, as
an intermediate appellate court, we cannot entertain the wholesale
dismantling of California’s strict products liability doctrine, even if we were
inclined to do so (and we are not).

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      Regarding compensation, Amazon notes that expanding strict liability
to new defendants (thereby spreading losses more broadly throughout
society) is insufficient in itself to justify such expansion. (See Peterson,
supra, 10 Cal.4th at p. 1207.) But, as discussed above, strict liability for
Amazon under the circumstances here would promote each of the policies
underlying the doctrine. It is not solely predicated on Amazon’s availability
as a defendant.
      Regarding cost allocation, Amazon claims that strict liability would
force it to be an insurer for consumers of third-party products. Amazon is
incorrect. Strict liability is not absolute liability. (Daly, supra, 20 Cal.3d at
p. 733.) “On the contrary, the plaintiff’s injury must have been caused by a
‘defect’ in the product.” (Ibid.) Amazon also claims that strict liability would
operate as a tax on “millions of faultless third-party sellers who have never
sold a defective or dangerous product” and lead to higher prices for products
sold on Amazon. This claim is somewhat tangential to the primary policy at
issue. The primary policy of cost allocation is promoted where participants in
the chain of distribution can adjust costs between themselves, i.e., for the
products they handle in common. (See O’Neil, supra, 53 Cal.4th at p. 363;
Vandermark, supra, 61 Cal.2d at p. 263.) Peterson, on which Amazon relies,
held that this policy was not met in the case of residential landlords because
“[a] landlord or hotel owner, unlike a retailer, often cannot exert pressure
upon the manufacturer to make the product safe and cannot share with the
manufacturer the costs of insuring the safety of the tenant, because a
landlord or hotel owner generally has no ‘continuing business relationship’
with the manufacturer of the defective product.” (Peterson, supra, 10 Cal.4th
at p. 1199.) In that circumstance, “ ‘[t]he cost of insuring risk will not be
distributed along the chain of commerce but will probably be absorbed by


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tenants who will pay increased rents.’ ” (Ibid.) Here, by contrast, Amazon
has a continuing business relationship with the upstream supplier (third-
party seller) and the consumer will not necessarily absorb any increased
costs.
         There is, of course, a risk that the upstream supplier and other entities
in the chain of distribution will be insolvent or unavailable. But that
circumstance is precisely why the doctrine of strict liability has been
expanded to include the entire chain of distribution, including retailers,
where the policies of the doctrine are otherwise served. (See Vandermark,
supra, 61 Cal.2d at p. 262.) The risk of nonpayment, in such a circumstance,
should fall on an entity that benefited from the sale of the product rather
than the injured plaintiff. (Id. at pp. 262-263; Greenman, supra, 59 Cal.2d at
p. 63.) Amazon can choose how to absorb that risk. Nothing in the record
supports its assertions that it would be forced to indiscriminately raise its
fees on “millions of faultless third-party sellers who have never sold a
defective or dangerous product,” or that the burden of such a hypothetical fee




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increase would ultimately fall on Amazon customers rather than be absorbed

by sellers themselves in form of reduced profits.11
      Both parties in this appeal recognize that the application of the
doctrine of strict liability to Amazon under the circumstances here presents
important issues that have not been fully addressed in prior precedents. But
the novelty of these issues does not prevent us from applying the doctrine
where, as here, it is warranted. “Law, as an instrument of justice, has
infinite capacity for growth to meet changing needs and mores. Nowhere is
this better illustrated than in the recent developments in the field of products
liability. The law should be based on current concepts of what is right and
just and the judiciary should be alert to the never-ending need for keeping
legal principles abreast of the times. Ancient distinctions that make no sense
in today’s society and that tend to discredit the law should be readily rejected
as they were step by step in Greenman and Vandermark.” (Kriegler v. Eichler
Homes, Inc. (1969) 269 Cal.App.2d 224, 227.)


11     In somewhat contradictory fashion, Amazon argues that it does not set
the price for third-party products and therefore cannot “spread the cost of
defects across units sold.” But as Amazon itself notes, it does control its fees.
If it desires, it can increase fees on high-risk products, or all products, and
thereby spread the cost of compensating consumers injured by such products.
That is not inconsistent with the purposes of strict liability, and it is not
predicated on Amazon’s particular financial strength or bargaining position.
“ ‘The rationale of [Greenman] does not rest on the analysis of the financial
strength or bargaining power of the parties to the particular action. It rests,
rather, on the proposition that “The cost of an injury and the loss of time or
health may be an overwhelming misfortune to the person injured, and a
needless one, for the risk of injury can be insured by the manufacturer and
distributed among the public as a cost of doing business.” ’ ” (Price, supra,
2 Cal.3d at p. 251, fn. 5; see Kesner v. Superior Court (2016) 1 Cal.5th 1132,
1153.) Amazon also controls access to its website. As outlined above, if it
desires, it can limit the sale of products that create a commercially
unreasonable risk of injury.

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      The record does not demonstrate as a matter of law that Amazon
cannot be held strictly liable for defects in third-party products sold through
its website, at least under the circumstances here. The trial court therefore
erred by summarily adjudicating Bolger’s causes of action for strict products

liability on this basis. (See Jimenez, supra, 29 Cal.4th at p. 485.)12
                                        III
                          Immunity Under Section 230
      Amazon contends that, regardless of its liability under California law,
it is shielded by the federal CDA, specifically title 47 United States Code
section 230 (section 230). In relevant part, that section provides, “No
provider or user of an interactive computer service shall be treated as the
publisher or speaker of any information provided by another information
content provider.” (47 U.S.C. § 230, subd. (c)(1).) “No cause of action may be
brought and no liability may be imposed under any State or local law that is
inconsistent with this section.” (Id., subd. (e)(3).)




12     In her briefing, Bolger also contends the court erred by summarily
adjudicating her “negligence” cause of action. But, as Amazon points out,
Bolger limited her opposition in the trial court to her strict products liability
claims. Bolger responds that she only abandoned her negligent undertaking
claim, but not other “negligence-based theories.” Her opposition in the trial
court did not address any such negligence-based theories, and she provides no
persuasive reason why we should consider her arguments for the first time on
appeal. We decline to do so. (See NBCUniversal Media LLC v. Superior
Court (2014) 225 Cal.App.4th 1222, 1236-1237; DiCola v. White Brothers
Performance Products, Inc. (2008) 158 Cal.App.4th 666, 676.) Bolger also
does not substantively address her causes of action for negligent products
liability, breach of express warranty, or breach of implied warranty. Thus,
Bolger has not met her burden of showing the court erred by summarily
adjudicating those claims. (See Frittelli, supra, 202 Cal.App.4th at p. 41;
Reyes v. Kosha (1998) 65 Cal.App.4th 451, 466, fn. 6.)

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      “Taken together, these provisions bar state-law plaintiffs from holding
interactive computer service providers legally responsible for information
created and developed by third parties. [Citation.] Congress thus
established a general rule that providers of interactive computer services are
liable only for speech that is properly attributable to them. [Citation.] State-
law plaintiffs may hold liable the person who creates or develops unlawful
content, but not the interactive computer service provider who merely
enables that content to be posted online.” (Nemet Chevrolet, Ltd. v.
Consumeraffairs.com, Inc. (4th Cir. 2009) 591 F.3d 250, 254.)
      “[T]he reason for excluding interactive computer services from liability
for republication was ‘to promote the continued development of the Internet
and other interactive computer services . . . [and] to preserve the vibrant and
competitive free market that presently exists for the Internet and other
interactive computer services, unfettered by Federal or State regulation.’
[Citations.] To that end, CDA immunity is to be construed broadly, ‘to
protect websites not merely from ultimate liability, but from having to fight
costly and protracted legal battles.’ ” (Cross v. Facebook, Inc. (2017)
14 Cal.App.5th 190, 206 (Cross).)
      Immunity under section 230 extends to “ ‘(1) a provider or user of an
interactive computer service (2) whom a plaintiff seeks to treat, under a state
law cause of action, as a publisher or speaker (3) of information provided by
another information content provider.’ ” (HomeAway.com, Inc. v. City of
Santa Monica (9th Cir. 2019) 918 F.3d 676, 681 (HomeAway.com).) The first
element is not at issue here. The dispositive question is whether Bolger’s
strict liability cause of action seeks to treat Amazon as a publisher or speaker
of information provided by another.




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      “In evaluating whether a claim treats a provider as a publisher or
speaker of user-generated content, ‘what matters is not the name of the cause
of action’; instead, ‘what matters is whether the cause of action inherently
requires the court to treat the defendant as the “publisher or speaker” of
content provided by another.’ [Citation.] Put slightly differently, ‘courts
must ask whether the duty that the plaintiff alleges the defendant violated
derives from the defendant’s status or conduct as a “publisher or speaker.” If
it does, section 230(c)(1) precludes liability.’ ” (Cross, supra, 14 Cal.App.5th
at p. 207.)
      Courts have declined to apply section 230 to strict products liability
claims. In Erie, the federal appellate court rejected Amazon’s argument that
section 230 shielded it from products liability claims: “The products liability
claims asserted by Erie in this case are not based on the publication of
another’s speech. The underpinning of Erie’s claims is its contention that
Amazon was the seller of the headlamp and therefore was liable as the seller
of a defective product. There is no claim made based on the content of speech
published by Amazon—such as a claim that Amazon had liability as the
publisher of a misrepresentation of the product or of defamatory content.
[Citations.] While the [CDA] protects interactive computer service providers
from liability as a publisher of speech, it does not protect them from liability
as the seller of a defective product.” (Erie, supra, 925 F.3d at pp. 139-140.)
Similarly, in State Farm, the federal district court held, “ ‘In strict product
liability actions, the “act” to which the seller’s responsibility attaches is not
an act of negligence. If indeed it is an act at all, it is simply the act of placing
or maintaining a defective product in the stream of commerce.’ [Citation.]
Amazon’s active participation in the sale, through payment processing,
storage, shipping, and customer service, is what makes it strictly liable. This


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is not activity immunized by the CDA.” (State Farm, supra, 390 F.Supp.3d at
pp. 973-974.)
      We agree with Erie and State Farm on this issue. Bolger’s strict
products liability claims target Amazon’s role in “the vertical distribution of
consumer goods” (Bay Summit, supra, 51 Cal.App.4th at p. 773) as an
“integral part of the overall producing and marketing enterprise” for the
Lenoge replacement laptop battery (Vandermark, supra, 61 Cal.2d at p. 262).
It is based on Amazon’s own conduct, as described above, not the content of
Lenoge’s product listing. Bolger’s claims do not require a court to treat
Amazon as the speaker or publisher of content provided by Lenoge. The
content of the product listing is not determinative, and it need not be
attributed to Amazon to support strict liability. Instead, Amazon’s own
involvement in the distribution of an allegedly defective product supports
strict liability for the reasons we have already discussed.
      Amazon relies on this court’s opinion in Gentry v. eBay Inc. (2002)
99 Cal.App.4th 816 (Gentry), but it is distinguishable. In that case, plaintiffs
sued the online shopping website eBay for its role in hosting third-party sales
listings for allegedly counterfeit sports memorabilia. (Id. at pp. 821-822.)
Plaintiffs alleged causes of action for (1) violation of Civil Code
section 1739.7, subdivision (b), which requires a dealer who “provides [a]
description[] of [a] collectible[] as being autographed” to furnish a certificate
of authenticity at the time of sale; (2) negligence in allowing false and
misleading sales listings or user reviews to be posted; and (3) derivative
unfair competition claims. (Gentry, at pp. 822-823.)
      Gentry held that section 230 applied to each cause of action. As to the
Civil Code violation, this court explained, “The substance of [plaintiffs’]
allegations reveal they ultimately seek to hold eBay responsible for conduct


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falling within the reach of section 230, namely, eBay’s dissemination of
representations made by [others], or the posting of compilations of
information generated by those defendants and other third parties.” (Gentry,
supra, 99 Cal.App.4th at p. 831.) This court explained that eBay “merely
made the individual defendant’s false product descriptions available to other
users on its Web site, or provided the Web site on which the individual
defendants designated their collectibles as autographed,” and holding eBay
liable would put it “in the shoes of the individual defendants, making it
responsible for their publications or statements.” (Id. at pp. 832-833.)
Similarly, section 230 shielded eBay against plaintiffs’ negligence claims
because they were based on “false and/or misleading content created by the
individual defendants and other coconspirators” or not taking editorial action
against the individual defendants’ false and misleading content. (Id. at
pp. 834-835.)
      Here, by contrast, Bolger’s strict products liability claims do not depend
on the content of Lenoge’s product listing, e.g., whether it was false or
misleading. Bolger’s claims are based on Amazon’s role in the chain of
production and distribution of an allegedly defective product. The fact that
some content provided by Lenoge was posted on the Amazon website does not
automatically immunize Amazon for its own choices and activities unrelated
to that content. (See HomeAway.com, supra, 918 F.3d at pp. 682-683.)
      The other authorities cited by Amazon are similarly distinguishable
because they depend on the content of third-party postings. (See Doe II v.
MySpace Inc. (2009) 175 Cal.App.4th 561, 573 [claims based on a website’s
decision “to restrict or make available certain material”]; Jane Doe No. 1 v.
Backpage.com, LLC (1st Cir. 2016) 817 F.3d 12, 21 [claims based on “choices
about what content can appear on the website and in what form”]; Chicago


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Lawyers’ Committee for Civil Rights Under Law, Inc. v. Craigslist, Inc.
(7th Cir. 2008) 519 F.3d 666, 671 [claims based on content of allegedly
discriminatory housing advertisements]; Green v. America Online (AOL)
(3d Cir. 2003) 318 F.3d 465, 471 [claim that “AOL was negligent in
promulgating harmful content and in failing to address certain harmful
content on its network”]; Daniel v. Armslist, LLC (Wis. 2019) 926 N.W.2d
710, 726 [claim that defendant “provided an online forum for third-party
content and failed to adequately monitor that content”].) The content of
Lenoge’s product listing is not determinative here. Section 230 does not
shield Amazon from liability.
                                DISPOSITION
      The judgment is reversed. The trial court is directed to (1) vacate its
order granting summary judgment, (2) enter a new order denying summary
adjudication of Bolger’s strict products liability claims and granting summary
adjudication of Bolger’s remaining claims, and (3) conduct further




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proceedings not inconsistent with this opinion. Bolger shall recover her costs
on appeal.



                                                              GUERRERO, J.


WE CONCUR:




BENKE, Acting P. J.




O’ROURKE, J.




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 1                                         CERTIFICATE OF SERVICE
 2               I hereby certify that on this 14th day of August, 2020, I electronically filed the

 3 foregoing ATARI INTERACTIVE, INC.’S STATEMENT OF RECENT DECISION with

 4 the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

 5 following:

 6                                                    SERVICE LIST
 7                                       Atari Interactive, Inc. v. Redbubble Inc.
                           U.S.D.C. N.D. CA, Oakland Division Case No. 4:18-CV-03451-JST
 8                    [Related to Case Nos. 3:18-cv-03843-JST; 3:18-cv-04115; 4:18-cv-04949-JST;
                                                  and 19-cv-00264-JST]
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                            ATARI INTERACTIVE, INC.’S STATEMENT OF RECENT DECISION
